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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


    RowVaughn Wells,

                           Plaintiff,                       Case No. 2:23-CV-02224

           v.                                               JURY DEMAND

    The City of Memphis et al.,

                           Defendants.


       PLAINTIFF’S RESPONSE IN OPPOSITION TO CITY’S MOTION TO VACATE
                 PLAINTIFF’S CONFIDENTIALITY DESIGNATIONS

          Plaintiff RowVaughn Wells, through her counsel, submits this Response in Opposition to

the City’s Motion to Vacate Plaintiff’s Confidentiality Designations (the “Motion”) (ECF 287). 1

                                             INTRODUCTION

          The City’s Motion is the latest in its efforts to use discovery and this Court’s docket to

publicly smear the character and motives of Plaintiff and her deceased son based on salacious

allegations that are unlikely to be admissible at trial. These matters are not new to this Court. As

discussed in the parties’ prior filings, in November 2024, the City took the depositions of four

nonparties: the mother of Tyre Nichols’ son and three members of a Sacramento family (the

Volkers) that Mr. Nichols was close to from childhood. Since then, the parties have extensively

briefed the question of whether the City should be allowed to publish on the Court’s docket a series




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  Pursuant to the Protective Order (ECF 213 § VII) and for the reasons stated herein and in Plaintiff’s prior
filings on the parties’ sealing disputes (ECF 233, 235, 262), Plaintiff seeks leave to file this brief under seal,
with a redacted version filed on the Court’s public docket. Because the exhibits hereto (deposition
transcripts) are replete with material designated confidential, the exhibits will be filed only with the sealed,
unredacted version.


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reached agreement on its terms. ECF 213. When a party’s confidentiality designation under a

blanket protective order is challenged, the party claiming confidentiality must establish that its

designation is supported by “good cause.” MSC.Software Corp. v. Altair Eng’g, Inc., No. 07-

12807, 2012 WL 13222577, at *4 (E.D. Mich. May 17, 2012). Additionally, the Protective Order

in this case requires that the designating party make designations “in good faith.” ECF 213 § 7.

       According to the City, however, a showing of good cause and good faith are not enough.

Even after those are satisfied, it says, the Court must find that the “private interest in avoiding

harm” from disclosure of the designated material outweighs “the public interest in access to an

open court system.” Mot. at 6, 15-16. But that’s not right. Under Sixth Circuit precedent, the court

must balance whether the interests in confidentiality are “outweighed [by] the public interest in

access” only when issuing an “order[] to seal court records” at the “adjudicative stage” of

proceedings—not when parties are merely “exchang[ing] [] information” in the “discovery stage.”

Shane Grp., Inc. v. Blue Cross Blue Shield of Michigan, 825 F.3d 299, 305 (6th Cir. 2016); see

also Dow Chem. Co. v. Reinhard, No. 07-12012-BC, 2008 WL 1931910, at *6 (E.D. Mich. May

2, 2008) (“As these documents are not filed before the Court, the question regarding the propriety

of sealing them does not arise. Instead, the issue pertains only to the propriety of their designation

as confidential.”).

       Here, all that is at issue is the confidentiality of deposition testimony taken during pretrial

discovery. There is no public right of access to such discovery materials. The Supreme Court has

made clear that “pretrial depositions and interrogatories are not public components of a civil trial[,]

. . . and, in general, they are conducted in private as a matter of modern practice.” Seattle Times

Co. v. Rhinehart, 467 U.S. 20, 33 (1984). As such, the Supreme Court has concluded that “restraints

placed on discovered, but not yet admitted, information are not a restriction on a traditionally public




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source of information.” Id. (emphasis added); accord The Courier J. v. Marshall, 828 F.2d 361,

364 (6th Cir. 1987) (“Pretrial discovery . . . ordinarily proceeds as a private interchange between

the parties, the fruits of which are not presumptively public.”); Procter & Gamble Co. v. Bankers

Tr. Co., 78 F.3d 219, 225 (6th Cir. 1996) (“[P]arties to civil litigation do not have a right to

disseminate information they have gained through participation in the discovery process.”). The

two non-Sixth Circuit, pre-Shane Group cases cited by the City, Mot. at 16, are not to the contrary:

they do not address whether discovery materials were properly designated as confidential under

an existing blanket protective order, such as in place here.

        The issue here is merely whether portions of discovery materials will remain confidential

between the parties during the pendency of discovery. At this stage, no party is asking the Court to

rely on these materials as evidence in adjudicating any party’s substantive rights. Nor is any party

claiming that any materials be deemed inadmissible. As such, the challenged deposition transcripts

should remain confidential on a showing of good cause (and good faith).

II.     The Protective Order Broadly Protects “Private and/or Sensitive Information.”

        The central problem for the City is that the plain language of the Protective Order does not

support its claims. See ECF 213 § I.A.1. And plain meaning is what governs here. As “a court-

approved agreement, [the Protective Order] must be construed according to general principles of

contract law,” City of Hartford v. Chase, 942 F.2d 130, 134–35 (2d Cir. 1991), including that the

Court must “begin with the [] text” and “give effect to its plain meaning in an ordinary and popular

sense.” Fulkerson v. UNUM Life Ins. Co. of Am., 36 F.4th 678, 681 (6th Cir. 2022) (quotation marks

omitted).




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       Under the plain terms of the Protective Order, the scope of what may be designated

confidential is expansive:

       Sec. I.A.1. – Any material that contains “(i) confidential or proprietary business
       information; or (ii) private and/or sensitive information including, but not limited
       to, financial information, medical information, leave information, disciplinary
       information, social security numbers, dates of birth and other private employee
       information”; or

       Sec. I.A.3. – Any material that contains “personal financial or tax information”; or

       Sec. I.A.6. – “Any other type of information that is maintained by the producing
       party on a confidential basis, provided that the producing party has a legitimate
       interest in maintaining the confidentiality/privacy of said information.”

ECF 213 § I.A.1.-6. (emphases added).

       The City continually tries to rewrite the Protective Order to fit its argument that only the

narrowest of protections are allowed. According to the City, the Order only protects “very limited

categories of information.” Mot. at 4. The Order’s purpose, it asserts, is to protect nothing but

“limited details from documents such as officers’ personnel records and police reports with third

parties’ private or identifying information.” Mot. 5 (emphases added). But that is not what the

Protective Order says. The Protective Order expressly states that the category “private and/or

sensitive information” is “not limited to” the particular types of information (financial, medical,

etc.) that are listed. ECF 213 § I.A.1. So the City’s assertion that the Protective Order “only uses

the terms ‘private’ and ‘sensitive’ in reference to discernable categories of information such as

‘financial information, medical information, leave information, disciplinary information, social

security numbers, dates of birth and other private employee information” is simply wrong. Mot. at

10. The City cites no authority that would warrant disregarding the plain meaning of the terms

“including, but not limited to” or any other terms in the Order, and the Court should not do so.




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        The City’s waiver argument also cannot be squared with its own practices designating

material as confidential under the Protective Order. The City has made many public statements

regarding its police practices since the start of this litigation, 13 and yet the City has designated as

confidential thousands of pages of Memphis Police Department documents, including arrest

reports and call logs for prior excessive force incidents, officer personnel files, training documents,

disciplinary records, and misconduct investigations. The documents the City has designated as

confidential—such as records of prior instances of excessive force by Memphis police officers—

involve activity by public officials that occurred in public against members of the public. If this

sort of material qualifies as confidential under the Protective Order, the deposition testimony

Plaintiff has designated certainly does too.

VII.    The City Will Not Be Prejudiced By Maintaining Plaintiff’s Confidentiality
        Designations.

        Throughout the City’s Motion, the City suggests that Plaintiff’s confidentiality

designations will somehow impede the City’s ability to develop its evidence, pursue its defenses,

or otherwise litigate this case. The City repeatedly argues that the deposition testimony should not

be designated confidential because it “is relevant to the City’s claims and defenses,” and the City

“is entitled to rely upon” this testimony, and “is entitled to [further] discovery on those issues.” Id.

at 17, 21; see also id. at 4 n.5, 15. But of course, the City never actually says how it will be

prejudiced, because it won’t be. The City seems to be confusing confidentiality with admissibility,

as though information marked confidential will automatically be deemed inadmissible for



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  See, e.g., Lucas Finton, Memphis Mayor Paul Young Plans to Enforce Tyre Nichols Ordinances, Other
Crime         Initiatives,   Memphis       Commercial        Appeal       (Jan.       4,     2024),
https://www.commercialappeal.com/story/news/local/2024/01/04/memphis-mayor-paul-young-tyre-
nichols-ordinances-enforcement/72105625007/; Memphis Police Interim Chief C.J. Davis Speaks One-on-
One with WREG, WREG News Channel 3 (Dec. 27, 2024), https://www.youtube.com/watch?v=-
V_uVxl1N3g.


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summary judgement or trial. That is not the case. The Protective Order expressly permits material

designated confidential to “be used” for the “prosecution or defense of the claims in this action.”

ECF 213 § II.8. Under the Protective Order, confidential material can be shown not only to the

parties and their counsel, but also to consultants and experts retained by the parties,

id. § III.A.3., and to persons providing depositions or testimony in this case, id. § III.A.5. As the

Protective Order makes clear, nothing bars a party from seeking further discovery about

information that has been designated confidential (assuming it is otherwise discoverable). Nor

does a confidentiality designation bar a party from using the material at summary judgment or trial

(assuming it is otherwise admissible). The question of whether the material “is relevant,” Mot. at

21, simply has nothing to do with whether the material should be kept confidential during

discovery.

       In considering challenges to confidentiality designations, courts in this Circuit look to

whether the challenging party has shown how the designations would “impact[] [the party’s] ability

to use the documents.” F.D.I.C. v. Cuttle, No. 11-CV-13442, 2013 WL 878773, at *4 (E.D. Mich.

Mar. 8, 2013) (denying motion challenging confidentiality designations where movant failed to

“establish[] how the designations have impacted his ability to use the documents”); cf.

MSC.Software Corp., 2012 WL 13222577, at *2 (vacating “Attorneys Eyes Only” designation

where the restrictions prevented the party’s own litigation team from reviewing the documents).

Here, the challenged confidentiality designations will not in any way impair the City’s ability to

use the deposition transcripts in this litigation, which militates heavily in favor of preserving the

designations.




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VIII. To The Extent Any Multi-Factor Balancing Test Applies, the Factors Support
      Plaintiff’s Confidentiality Designations.

        As explained above, the City’s claim that the Court should balance the Plaintiff’s privacy

interests against the public interest in disclosure is refuted by binding Sixth Circuit and Supreme

Court precedent, which establish that there is no public right to access pretrial discovery materials.

Supra pp. 4-5. For that reason, this Court should not apply the seven-factor balancing test that the

City borrows from the Third Circuit’s decision in Glenmede Tr. Co. v. Thompson, 56 F.3d 476, 483

(3d Cir. 1995). 14 But to the extent the Court considers the Glenmede factors, all of them weigh in

favor of retaining Plaintiff’s confidentiality designations, as shown briefly below.

        1) Whether disclosure will violate any privacy interests;

        As discussed above and in Plaintiff’s prior briefing, public disclosure of these highly

personal and sensitive portions of deposition testimony harm the privacy interests of Plaintiff, Mr.

Nichols, Mr. Nichols’ son, and Mr. Nichols’ son’s mother.

        2) Whether the information is being sought for a legitimate purpose or for an
           improper purpose;

        As discussed above and in Plaintiff’s prior briefing, the City seeks to disclose the

information designated confidential for the improper purpose of poisoning the jury pool. See ECF

233; ECF 262 at 1-4, 9-12.




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  In addition, Glenmede is irrelevant because it did not even address the question of confidentiality
designations. At issue in Glenmede was the propriety of the district court’s decision denying a protective
order that would shield a party from producing documents in response to a subpoena. 56 F.3d at 478. The
question in Glenmede was whether the party had to produce the requested material at all—not whether
material, already produced under an existing confidentiality order, was properly designated confidential.


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        3) Whether disclosure of the information will cause a party embarrassment;

        As discussed above and in Plaintiff’s prior briefing, public disclosure of these highly

personal and sensitive portions of deposition testimony will cause embarrassment to Plaintiff, Mr.

Nichols, Mr. Nichols’ son, and Mr. Nichols’ son’s mother.

        4) Whether confidentiality is being sought over information important to public health
           and safety;

        None of the materials Plaintiff has designated confidential bear any relation to public

heath or safety.

        5) Whether the sharing of information among litigants will promote fairness and
           efficiency;

        Plaintiff’s confidentiality designations do not bar the parties from sharing or using the

information amongst themselves for purposes of this litigation. The designations merely bar the

parties from disclosing the material with non-litigants. As discussed above, the City has made no

argument that the confidentiality designations would impede the fairness or efficiency of this

litigation.

        6) Whether a party benefitting from the order of confidentiality is a public entity or
           official;

        The parties benefiting from the confidentiality protections are private individuals, not

public entities or officials (for whom there would be a greater public interest in requiring

disclosure).

        7) Whether the case involves issues important to the public.

        While Plaintiff’s claims of constitutional violations and widespread practices by the

Memphis Police Department of using excessive force and maintaining a code of silence are

certainly issues of importance to the public, the private matters designated confidential in the

deposition testimony are unrelated to these claims or the City’s defenses to them.



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                          Thus, as the City acknowledges, the private matters it seeks to publish

have no relation whatsoever to the issue of liability or to the vast majority of Plaintiffs’ alleged

damages.

                                         CONCLUSION

       For the reasons explained above and in Plaintiff’s prior filings on the parties’ sealing

disputes (see ECF 233, 235, 236, 262), Plaintiff respectfully requests that the Court deny the City’s

Motion to Vacate Plaintiff’s Confidentiality Designations.



Dated: February 5, 2025                       Respectfully submitted,


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